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Pelker, Catherine (CRM)

From:                  Pelker, Catherine (CRM)
Sent:                  Monday, February 12, 2024 10:03 PM
To:                    Jeff M. Fischbach, ABFE
Cc:                    Pearlman, Jeffrey (CRM); Brown, Christopher (USADC); Tor Bernhard Ekeland; Michael Hassard
Subject:               RE: [EXTERNAL] Sterlingov Password Document


Hello Mr. Fischbach,
You may recall that because of the volume of discovery, the files were provided on multiple drives. If you open the
“BTC‐Fog_Disco_Log” file that is visible on your first screenshot, it should include a key. Your second screenshot appears
to be showing the contents of BTC_F‐3. The relevant file was on BTC_F‐2.


C. Alden Pelker
Deputy Director, National Cryptocurrency Enforcement Team
Computer Crime & Intellectual Property Section
Criminal Division
U.S. Department of Justice
Catherine.Pelker@usdoj.gov




From: Jeff M. Fischbach, ABFE
Sent: Monday, February 12, 2024 9:29 PM
To: Pelker, Catherine (CRM) <Catherine.Pelker@usdoj.gov>
Cc: Pearlman, Jeffrey (CRM) <Jeffrey.Pearlman2@usdoj.gov>; Brown, Christopher (USADC) <CBROWN8@usa.doj.gov>;
Tor Bernhard Ekeland <tor@torekeland.com>; Michael Hassard <Michael@torekeland.com>
Subject: Re: [EXTERNAL] Sterlingov Password Document

That sounds like it would be found inside a forensic image file, as opposed to outside.

If it helps, here are the root and secondary folders on that drive. Doesn that provide any clues?

Jeff Michael Fischbach
Forensic Technologist ■ Litigation Consultant ■ Adviser ■ Lecturer ■ Public Speaker
SecondWave, Inc., Los Angeles, CA
http://linqapp.com/jeff fischbach

On Mon, Feb 12, 2024, 9:19 PM Jeff M. Fischbach, ABFE                                wrote:

 If you're still up for a bit, I'll have a look and let you know.


 On Mon, Feb 12, 2024, 9:14 PM Pelker, Catherine (CRM) <Catherine.Pelker@usdoj.gov> wrote:

  Hello Mr. Fischbach,

  I will confirm this with our expert, but below is the information that I have regarding the file:

                                                                    1
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The file name is hq1.psafe3.

It was retrieved from the SanDisk Cruzer Blade 8GB USB (IRS 1000275898_2_A_USB3; FBI 1B9_13)

The file path is home/heavydist/Documents/hq1.psafe3

The password is “              ”



Regards,



C. Alden Pelker
Deputy Director, National Cryptocurrency Enforcement Team
Computer Crime & Intellectual Property Section
Criminal Division
U.S. Department of Justice
Catherine.Pelker@usdoj.gov




From: Jeff M. Fischbach, ABFE <                     >
Sent: Monday, February 12, 2024 8:49 PM
To: Pelker, Catherine (CRM) <Catherine.Pelker@usdoj.gov>; Pearlman, Jeffrey (CRM) <Jeffrey.Pearlman2@usdoj.gov>;
Brown, Christopher (USADC) <CBROWN8@usa.doj.gov>
Cc: Tor Bernhard Ekeland <tor@torekeland.com>; Michael Hassard <Michael@torekeland.com>
Subject: [EXTERNAL] Sterlingov Password Document



Good evening! Sorry for the late evening email. I wanted to readh‐out and see if any of you could help identify the
location of the "password document" ("psafe") on the encrypted HD. Possibly Michael misheard the name of the file,
but I have been unable to find anything by that name, outside any device image files.



Any direction would be greatly appreciated.



Best,



Jeff Michael Fischbach
Forensic Technologist ■ Litigation Consultant ■ Adviser ■ Lecturer ■ Public Speaker
                                                         2
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http://linqapp.com/jeff fischbach




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